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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                             BUTTE DIVISION



PATRICIA MCGOWN,

                         Plaintiff,
                                                    CV-20-20-BU-BMM
       vs.

WILLIAM INSKEEP; MARK KOZUBAL;
                                                    ORDER GRANTING
SUSTAINABLE BIOPRODUCTS
                                                    DEFENDANT’S EMERGENCY
HOLDINGS COMPANY LLC;
                                                    MOTION
SUSTAINABLE BIOPRODUCTS INC;
and DOES 1−5.

                         Defendants.




      Plaintiff Patricia McGown filed a Complaint against Defendants William

Inskeep, Mark Kozubal, Sustainable Bioproducts LLC, Sustainable Bioproducts

Holdings Company LLC, Sustainable Bioproducts Inc, and John Does 1−5. Doc. 7.

Defendants Kozubal, Sustainable Bioproducts LLC, Sustainable Bioproducts

Holdings Company LLC, Sustainable Bioproducts Inc, (“Moving Defendants”) filed

a Motion to Dismiss, under Fed. R. Civ. Pro. 12(b)(6). Doc. 10. Moving Defendants

filed Motion for a Protective Order Staying Discovery pending the Court’s

resolution of the Motion to Dismiss. Doc. 26. The Court held a hearing on this

matter on August 17, 2020. Doc. 42. The Court denied the Motion to Dismiss on
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September 29, 2020. Doc. 50. The Court denied the Motion for a Protective Order

as moot on October 2, 2020. Doc. 51.

      Moving Defendants filed an Emergency Motion for Order on November 6,

2020. Doc. 56. Moving Defendants intend to request an amended protective order

in the near future. Doc. 57. Moving Defendants seek in their Emergency Motion an

order from the Court permitting them to designate certain discovery documents as

“Attorneys’ Eyes Only” until the Court resolves Moving Defendants’ forthcoming

request for an amended protective order. Doc. 56.

      For the good cause provided in Moving Defendants’ brief (Doc. 57), the Court

grants Moving Defendants’ Emergency Motion for Order.

                                    ORDER

      Accordingly, IT IS ORDERED that Moving Defendants’ Emergency Motion

for Order (Doc. 56) is GRANTED.

      1. Moving Defendants shall file their motion to modify the Protective Order

      to an “Attorneys’ Eyes Only” designation by no later than 5:00 p.m. MST on

      Wednesday, November 11, 2020;

      2. Until the Court rules on that motion, the Moving Defendants may produce

      documents stamped “Attorneys’ Eyes Only”; and,




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3. Plaintiff’s counsel shall not disclose any documents stamped “Attorneys’

Eyes Only” to anyone other than: (1) counsel of record, (2) their staff, (3) their

experts, and (3) the Court (including the mediator and their respective staff).



      Dated the 6th day of November, 2020.




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